                 4:20-cv-04365-JMC             Date Filed 11/01/21             Entry Number 32          Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                             UNITED STATES DISTRICT COURT
                                                               for the
                                                   District of South Carolina


                     Teresa Morman                                    )
                           Plaintiff
                                                                      )
                      v.                                                       Civil Action No. 4:20-cv-4365-JMC
                                                                      )
       Commissioner of the Social Security
                                                                      )
               Administration
                          Defendant                                   )

                                JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                      recover from the defendant (name)                          the amount of

dollars ($    ), which includes prejudgment interest at the rate of       %, plus postjudgment interest at the rate of   %, along

with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)

recover costs from the plaintiff (name)                                    .

O other: This case is remanded to the Commissioner pursuant to sentence four of 42 U.S.C. §

405(g).


This action was (check one):

’ tried by a jury, the Honorable                               presiding, and the jury has rendered a verdict.


’ tried by the Honorable                           presiding, without a jury and the above decision was reached.

O decided by the Honorable J. Michelle Childs, United States District Judge, who granted
Defendant’s Motion to Remand.

                                                                            ROBIN L. BLUME
Date:         November 1, 2021                                             CLERK OF COURT


                                                                           s/ Glenda J. Nance
                                                                                  Signature of Clerk or Deputy Clerk
